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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  JOON BANG, RAZVAN VICTOR                   No. 2:15-cv-6945 (MCA)(SCM)
  BENGULESCU, GERALD BEZEMS,
  SCOTT CROCKETT, RIFAT
  GORENER, CHRISTOPHER LESIEUR,              CLASS ACTION
  LAWRENCE MARCUS, and MIKHAIL
  SULEYMANOV, individually and on
  behalf of others similarly situated,

                   Plaintiffs,

        vs.

  BMW OF NORTH AMERICA, LLC,
  BAVARIAN MOTOR WORKS, and
  DOES 1 through 10, inclusive,

              Defendants.

  __________________________________________________________________

              PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                UNOPPOSED MOTION FOR PRELIMINARY
               APPROVAL OF CLASS ACTION SETTLEMENT

  __________________________________________________________________
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                               I.     INTRODUCTION

        After four years of litigation, including over a year of intensive and

  protracted settlement negotiations, the Parties have resolved this consumer class

  action related to Excess Oil Consumption and Battery Discharge on behalf of

  current and former owners and lessees of vehicles manufactured and distributed by

  Defendants BMW of North America, LLC (“BMW NA”) and Bayerische Motoren

  Werke Aktiengesslschaft (“BMW AG”) (captioned as “Bavarian Motor Works”)

  (collectively, “Defendants”) equipped with N63 engines (“Settlement Class

  Vehicles”).1 Under the Settlement Agreement, all Settlement Class Members2 will

  receive a range of benefits, only some of which require submission of a claim by

  Class Members. Benefits of the settlement include reimbursement for certain out-

  of-pocket costs, free future repairs and cash discounts for future oil services, and

  potentially a replacement engine subject to certain conditions. All Settlement Class

  Members will also receive a voucher transferrable to family members that is worth



        1
          Capitalized terms used herein have the same meaning as the defined terms
  in the Settlement Agreement attached to the Declaration of Matthew D. Schelkopf
  as Exhibit 1.
        2
           Settlement Class Members are “all current and former owners and lessees
  in the United States, including the District of Columbia and Puerto Rico,” of
  Settlement Class Vehicles, defined as “U.S. specification model years 2009
  through 2014 BMW 5 Series, 6 Series, 7 Series, X5, and X6 vehicles that contain
  the N63 engine distributed for sale, and registered and operated in the United
  States, including the District of Columbia and Puerto Rico.” (SA, §I(K), (N).)



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  either $1,000 or $1,500 toward the purchase or lease of a new BMW vehicle,

  depending on the model.

        The Settlement Agreement resolves Plaintiffs’ allegations that Defendants

  sold and leased Settlement Class Vehicles without telling consumers about defects

  that cause the engine to consume excessive oil and prematurely drain the battery.

  According to Plaintiffs, drivers spent considerable money on extra engine oil and

  battery replacements as a result of the underlying problem. Defendants attempted

  to address the Excess Oil Consumption through several technical service bulletins

  (“TSB”), which instructed technicians to add more oil, and with greater frequency,

  to the Settlement Class Vehicles. A TSB also attempted to address the Battery

  Discharge Issue by providing free replacement batteries, but only until the

  expiration of BMW’s 4-year/50,000 Standard Maintenance Program. Defendants

  also initiated a Customer Care Program (“CCP”) that provided partial relief for

  consumers, including providing a discount on a replacement engine. Plaintiffs

  believe that Defendants’ measures did not sufficiently benefit consumers for the

  harms alleged in their Complaint.

        Following months of negotiations and a total of three days of mediation over

  two sessions, held in two different cities, the Parties reached a Settlement that

  provides substantial relief to Settlement Class Members. Under the Settlement,

  Defendants agree to reimburse Settlement Class Members who submit valid claims




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  for: (a) the cost of up to three Oil Services, not to exceed $75 each (or,

  alternatively, credits for free, future oil services), on their Settlement Class

  Vehicles; (b) the cost of up to seven quarts of oil (not to exceed $10 a quart)

  purchased by the Settlement Class Member; (c) up to $50 for

  towing/rental/roadside assistance arising from the Excess Oil Consumption Issue

  and Battery Discharge Issue; and (d) the cost of one battery replacement purchased

  before (but within three years of) the Class Notice and outside of the New Vehicle

  Limited Warranty period. (Schelkopf Decl., Ex. 1 (SA), § III(A)(2)-(5).)3 In

  addition, without the necessity of submitting a claim, Settlement Class Members

  will receive a credit of $75, each, for up to three future Oil Services on their

  Settlement Class Vehicles until the earlier of 10 years or 120,000 miles. (SA §

  III(B)(1).)

        If the Excess Oil Consumption Issue cannot be corrected, and if the

  Settlement Class Vehicle satisfies certain conditions,4 Defendants will provide a

  replacement engine for the Settlement Class Vehicle. Settlement Class Members

  may have to contribute to the cost of the replacement engine depending on the


        3
          All future reference to “SA” shall refer to the Settlement Agreement
  attached as Exhibit 1 the Declaration of Matthew D. Schelkopf
        4
         The Settlement Class Vehicle must (1) have had the CCP performed on the
  Settlement Class Vehicle; (2) thereafter failed two Oil Consumption Tests; and (3)
  BMW have been unable to resolve the excess Oil Consumption Defect after the
  second failed Oil Consumption Test and second repair attempt.



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  mileage. (SA § III(B)(4).) Settlement Class Members are entitled to a free 105Ah

  battery to replace a 90Ah battery, or, if the Settlement Class Vehicle cannot be

  retrofitted with 105Ah battery, with a free 90Ah battery (and further free

  replacement batteries if the replacement battery fails within 2 years). (SA §

  III(B)(5).) Furthermore, Defendants will perform up to three Oil Consumption tests

  if the Settlement Class Vehicle’s low oil light illuminates within the oil service

  interval, and provide free repairs for Settlement Class Vehicles which fail an Oil

  Consumption test, within the earlier of 10 years or 120,000 miles (and no later than

  1 year/12,000 from the Effective Date). (SA § III(B)(2).)

        All Settlement Class Members are also entitled to two other important

  benefits. Each Settlement Class Vehicle, regardless of age or mileage, is entitled to

  one service under the Customer Care Program. (SA § III(B)(7).) All Class

  Members will receive a voucher, transferrable to family members, for $1,500

  toward the purchase or lease of a BMW 6 or 7 Series vehicle or $1,000 toward any

  other BMW model. (SA § III(B)(8).)

        Class Members will be notified of the proposed Settlement and its benefits

  through a direct mailing to each Class Member. (SA § IV(A).) A toll-free number

  will also be maintained along with the establishment of a Settlement website,

  which will maintain all Settlement documents for review by Class Members. (Id.)

        In short, this proposed settlement will provide most, if not all, Settlement




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  Class Members with as much, or more, compensation as they may have obtained

  had this case proceeded through certification and trial. Plaintiffs therefore

  respectfully request that this Court grant their Unopposed Motion for Preliminary

  Approval of the Class Action Settlement. Granting the motion will allow the

  Parties to proceed with the notice plan envisioned by the Settlement Agreement,

  which in turn will allow Class Members to begin responding to, and taking part in,

  the Settlement during the months leading up to a final fairness hearing.

                          II.   FACTUAL BACKGROUND

        A.     Plaintiffs’ Allegations and Pre-Litigation Investigation

        In 2008, BMW introduced a new V8, twin-turbocharged engine referred to

  as the “N63” in certain BMW 5 Series, 6 Series, 7 Series, X5, and X6 vehicles

  from the 2009 through 2014 model years (“Settlement Class Vehicles”). Plaintiffs

  allege that the N63 engine consumes excessive amounts of engine oil between

  regularly scheduled service visits (the “Excess Oil Consumption Issue”), as well as

  a Battery Discharge Issue that causes excessive battery strain, which in turn

  requires frequent battery replacement. (SAC ¶¶ 1, 3.)

        The Settlement Class Vehicles were publicly criticized for the Excess Oil

  Consumption Issue in a Consumer Reports study of nearly 500,000 vehicles across

  numerous manufacturers, models, and model years for complaints regarding engine

  oil consumption. The V8 version of BMW’s 5 series – which contains the N63




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  engine for model years 2011-13 – produced the worst results of any vehicle in the

  study. (SAC ¶¶ 38-44.) Three other BMW models that also came equipped with the

  N63 during certain model years included in the Consumer Reports study (the 6

  Series, 7 Series, and X5) were among the five worst performing models studied for

  excessive oil consumption. (SAC ¶¶ 39-40.)

        According to Plaintiffs, Defendants had exclusive knowledge or access to

  material facts about N63 vehicles and engines, not known or reasonably

  discoverable by consumers. (SAC ¶ 50.) Plaintiffs alleged, however, that

  Defendants failed to disclose the Excess Oil Consumption Issue to consumers prior

  to or at the time of purchase or lease. (Id.) Instead, Defendants allegedly took steps

  to mask the defect rather than to correct it or disclose it to the purchasing public.

  (SAC ¶ 51.)

        In June 2013, Defendants issued technical service bulletin (“TSB”) SIB-11-

  01-13 to dealers and service professionals, increasing the engine oil consumption

  and engine oil fill specifications for N63 vehicles. (SAC ¶ 53.) This was, Plaintiffs

  claimed, an attempt to mask the Excess Oil Consumption Issue without correcting

  it and without providing owners or lessees with a complete remedy for the defect.

  (SAC ¶¶ 53-54.)

        In November 2013, Defendants issued TSB SIB 11 03 13 which set forth a

  new “Oil Consumption Specification” stating that “[a]ll BMW engines (excluding




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  Motorsport) can consume up to 1 quart of engine oil per 750 miles at any time.”

  (SAC ¶ 55.) Plaintiffs claim, according to the TSB, owners and lessees of these

  vehicles may need to add up to 20 quarts of engine oil between regularly scheduled

  oil changes.5 (SAC ¶ 57.)

        Following customer complaints about the Excess Oil Consumption Issue,

  Defendants launched the “N63 Customer Care Package” (TSB SIB 00 13 14) on

  December 29, 2014 (herein, “Customer Care Package”). (SAC ¶ 60.) The

  Customer Care Package consisted of several different measures, which Plaintiffs

  allege did not adequately address the Excess Oil Consumption Issue including: 1)

  instructing service representatives to check each covered vehicle’s timing chain,

  fuel injectors, mass air flow sensors, crankcase vent lines, battery, engine vacuum

  pump, and low pressure fuel sensor, and replace if necessary; 2) reducing the oil

  change intervals from the earlier of 15,000 miles/two years to the earlier of 10,000

  miles/one year; 3) offering purchasers discounts on new BMW vehicles to replace



        5
           Engine oil is important because it functions as an essential lubricant for the
  moving parts in internal combustion engines decreasing heat caused by friction and
  reducing wear. Engine oil also has important cleaning and sealing functions, and
  serves as an important medium for dissipating heat throughout the engine. As a
  result, the Settlement Class Vehicles need the proper amount of engine oil in order
  for the engine and its related parts to function safely. (SAC ¶ 65.) According to
  Plaintiffs, the Oil Consumption Defect is a safety concern because it prevents the
  engine from maintaining the proper level of engine oil and causes voluminous oil
  consumption that cannot be reasonably anticipated or predicted, which can lead to
  engine failure while the Settlement Class Vehicles are in operation. (SAC ¶ 67.)



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  their N63 vehicles; and 4) authorizing dealerships to provide purchasers with up to

  $50 of BMW merchandise or accessories. (SAC ¶¶ 60-64.)

          Furthermore, according to Plaintiffs, the Battery Discharge Issue forces the

  Settlement Class Vehicles’ batteries to rapidly deteriorate and require replacement

  every 10,000 miles or one year, well before the expected useful life of an

  automotive battery. (SAC ¶ 71.) To address the Battery Discharge Issue,

  Defendants issued Technical Service Bulletin SIB 61 30 14 instructing BMW

  service representatives to replace Settlement Class Vehicle batteries at every

  engine oil change if the battery had not been replaced in the previous 12 months.

  (SAC ¶ 76.) This bulletin provides N63 owners with free replacement batteries, but

  only until the expiration of BMW’s 4 year or 50,000-mile Standard Maintenance

  Program. (Id.) Plaintiffs alleged this program was insufficient, as owners and

  lessees will be forced to continuously replace batteries at their own expense for the

  remaining period of ownership after the Standard Maintenance Program expires.

  (Id.)

          B.    History of the Litigation

          Plaintiff Joon Bang, a California resident, filed this action on September 18,

  2015, alleging that certain BMW vehicles with the N63 Engine are defective

  because they have an Excess Oil Consumption Issue (see, e.g., ECF. No. 1, ¶¶ 40-

  48), and a Battery Discharge Issue (see, e.g., ECF. No. 1, ¶¶ 49-62).




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        Another complaint by Scott Crockett, alleging similar claims, had been filed

  on September 15, 2015, in the United States District Court for the District of

  Kansas, Case No. 15-cv-09266-DDC-TJJ. Crockett agreed to dismiss his case, and

  pursue his claims in this action. Bang’s and Crockett’s claims were brought in a

  first amended complaint filed on December 21, 2015. Plaintiff’s counsel in the

  Bang and Crockett matters then moved to be appointed interim co-lead counsel and

  liaison class counsel, which was granted on January 15, 2016. (ECF. No. 19.)

  Thereafter, BMW NA filed a motion to dismiss the first amended complaint. (ECF.

  No. 22.)

        Around the same time, two other putative class actions were filed alleging a

  defect in the N63 engine, Kelley v. BMW of North America, LLC, Case No. 15-cv-

  09721-PA-RAO, filed on December 18, 2015, in the United States District Court

  for the Central District of California, and Lesieur v. BMW of North America, LLC,

  Case No. 15-cv-06143-EDL, filed on December 28, 2015 in the United States

  District Court for the Northern District of California.

        By agreement, these actions were transferred to this Court and a

  consolidated second amended complaint (“SAC”) was filed on March 21, 2016.

  (ECF. No. 32.) The SAC asserts claims for (1) violation of the N.J. Consumer

  Fraud Act, (2) breach of express and implied warranty, (3) violation of the

  Magnusson-Moss Act, (4) violation of the CLRA, (5) violation of the UCL,




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  (6) violation of the FAL, (7) violation of the Song-Beverly Act, (8) violation of

  N.Y. Gen. Bus. Law §§ 349, 350, (9) violation of the Washington Consumer

  Protection Act, (10) violation of the Kansas Consumer Protection Act;

  (11) violation of the Texas Deceptive Practices Act; and (12) violation of the

  Connecticut Deceptive Trade Practices Act.

         BMW NA filed a motion to dismiss the SAC on April 21, 2016, arguing

  that, inter alia, Plaintiffs lacked Article III standing, that they failed to state a cause

  of action for the statutory consumer fraud claims, and they failed to state warranty

  claims. (ECF. No. 35.) Plaintiffs filed their memorandum in opposition on May 23,

  2016. (ECF. No. 38), and BMW NA filed its reply brief on June 7, 2016. (ECF.

  No. 41.) After the court granted the consolidation request, the Court entered an

  order, on December 2, 2016, denying BMW NA’s motion to dismiss. (ECF. Nos.

  45-46.) BMW NA filed an answer on January 16, 2017. (ECF. No. 55.)

         The Parties commenced discovery, including the production of documents.

  The Parties first negotiated and agreed upon a Stipulated Order Establishing

  Document Discovery Protocol, which was filed with the Court and approved by

  Magistrate Judge Mannion on March 3, 2017. (ECF. No. 65.) Plaintiffs’ counsel

  then served interrogatories and document requests on BMW NA. The Parties also

  exchanged their initial disclosures.

         Following the discovery requests, BMW NA resisted production of certain




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  documents, requiring the Court’s assistance. (See ECF Nos. 72, 82.) However,

  BMW NA responded to written discovery, and produced over 10,000 pages to

  date, including: vehicle service and warranty history for each of the named

  Plaintiffs; nationwide sales data for Settlement Class Vehicles; oil consumption

  test forms from BMW Centers (dealers); original and revised Technical Service

  Bulletins specifically dealing with the oil consumption and battery issues;

  documents relating to the issuance and implementation of the Customer Care

  Package; owners’ manuals and warranty manuals for each of the Settlement Class

  Vehicles; warranty claims data for the Settlement Class Vehicles; and documents

  identifying Defendants’ internal investigation, analysis, and conclusions.

        As noted above, Plaintiffs’ counsel investigated and analyzed the oil

  consumption and battery problems associated with the N63 engine. In addition,

  Plaintiffs’ counsel interviewed multiple non-party witnesses and responded to

  inquiries from putative class members, with hundreds of putative class members

  having directly contacted Plaintiffs’ counsel as of the date of this filing.

        C.     Settlement

        On August 3, 2017, the Parties engaged in a mediation session in New York

  with mediator Brad Winters, Esq. While productive, the case did not resolve then.

  On October 2 and 3, 2017, the Parties participated in a second, in-person mediation

  over two full days in Missouri, resulting in a class-wide settlement, memorialized




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  in the Settlement Agreement.

        The Parties did not discuss or negotiate incentive awards for the Plaintiffs or

  attorneys’ fees and expenses until after an agreement on the framework and

  material terms for settlement of the class claims was reached. All of the terms of

  the Settlement Agreement are the result of extensive, adversarial, and arm’s-length

  negotiations between experienced counsel for both sides.

        D.     Terms of the Settlement Agreement

               1.     Reimbursement for Out of Pocket Costs for the Oil
                      Consumption and Battery Discharge Issues

        The Settlement Agreement first provides Settlement Class Members with an

  opportunity to recover past, out-of-pocket expenses on a claims-made basis. First,

  Defendants will reimburse Settlement Class Members for out-of-pocket costs for

  up to three Oil Services, not to exceed $75 each, on their Settlement Class

  Vehicles, provided that the costs were (a) actually paid by the Settlement Class

  Member (b) for an Oil Service performed during 10 years/120,000 miles

  (whichever is earlier) from first use, and (c) that Oil Service took place less than 12

  months/10,500 miles after the previous oil change. (SA § III(A)(2).) Settlement

  Class Members may elect to receive a free future oil service in lieu of the $75 cash

  reimbursement for each past qualifying oil service.

        Second, Defendants will reimburse Settlement Class Members for the cost of

  up to seven quarts of oil (not to exceed $10 a quart) purchased by the Settlement



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  Class Member, provided that (a) adequate proof of purchase is presented; (b) the

  oil was of the same type and grade as provided in the Settlement Class Vehicle’s

  owner’s manual; (c) at least one prior Excess Oil Consumption Issue complaint

  was communicated to a BMW Center (dealership) and confirmed by

  documentation; and (d) the Settlement Class Vehicle had fewer than 10

  years/120,000 miles at the time of the oil purchase. (SA § III(B)(3).)

        Third, Defendants will reimburse Settlement Class Members for the cost of

  one towing, rental, or roadside assistance, up to $50, incurred by Settlement Class

  Members, if the Settlement Class Vehicle was towed to a BMW Center or third-

  party repair facility and with documentation confirming that the towing was related

  to an Excess Oil Consumption Issue or Battery Discharge Issue. (SA § III(B)(4).)

        Fourth, Defendants will reimburse the cost of one battery replacement that

  was incurred within three years prior to the Notice Date and purchased outside of

  the New Vehicle Limited Warranty period. (SA § III(B)(5).)

        Claims for reimbursement must be submitted within thirty (30) days after the

  Final Approval Hearing. (SA § I(F).)

               2.    Complimentary Repairs and Services

        In addition to reimbursements, the Settlement provides a host of additional

  benefits including several available to all Settlement Class Members that do not

  require the submission of any claim. All Settlement Class Members will receive a




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  credit of $75, each, for up to three future Oil Services on a Settlement Class

  Vehicle until the earlier of 10 years or 120,000 miles without the necessity of

  submitting a claim. (SA § III(B)(1).) This is a benefit to all owners/lessees of the

  approximately 84,000 N63 equipped BMW vehicles, regardless of whether they

  have experienced excessive oil consumption. Settlement Class Members are also

  entitled to one free 105Ah battery to replace a 90Ah battery, or, if the Settlement

  Class Vehicle cannot be retrofitted with 105Ah battery, with a 90Ah battery. (SA

  § III(B)(5)-(6).) Defendants will further provide free replacement batteries if the

  replacement battery fails within 2 years of installation, and that failure is not due to

  customer negligence. (Id.)

        Defendants will perform up to three Oil Consumption tests if the Settlement

  Class Vehicle’s low oil light illuminates within the oil service interval, and provide

  free repairs relating to the Excess Oil Consumption Issue for Settlement Class

  Vehicles which fail an Oil Consumption test, within the earlier of 10 years or

  120,000 miles (unless within 1 year/12,000 miles from the Effective Date). (SA

  § III(B)(2).) Furthermore, each Settlement Class Vehicle, regardless of age or

  mileage, is entitled to one service under the Customer Care Program. (SA §

  III(B)(7).) Finally, all Class Members are also eligible for $1,500 toward the

  purchase or lease of a new BMW 6 or 7 Series vehicle or $1,000 toward the

  purchase or lease of any other new BMW vehicle. (SA § III(B)(8).)




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               3.    Engine Replacement

        If the engine is defective, Defendants will provide a replacement engine if

  the Settlement Class Member demonstrates that: (a) the CCP was performed on the

  Settlement Class Vehicle; (b) the same vehicle thereafter failed two Oil

  Consumption Tests; and (c) Defendants cannot resolve the Excess Oil

  Consumption Issue. (SA § III(B)(4).) To obtain a replacement engine, the

  Settlement Class Member must contribute to the cost of the replacement engine

  depending on the mileage. (Id.) The contribution schedule is as follows:

                Odometer miles at the
              time of return to a BMW
                   Center for an oil
                                                Customer Contribution
               consumption issue after
              2nd failed oil consumption
             test and 2nd repair attempt
                 50,001          60,000                  5%
                 60,001          70,000                 15%
                 70,001          80,000                 30%
                 80,001          90,000                 45%
                 90,001         100,000                 60%
                100,001         110,000                 75%
                110,001         120,000                 90%
                120,001          above                  100%


        E.     Notification to Settlement Class Members

        The Settlement Agreement contains a comprehensive notice plan, to be paid

  for and administered by Defendants. During the claims administration process,

  Class Counsel has the right to monitor the process to ensure Defendants are acting




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  in accordance with the Settlement Agreement.

        Class Members will be notified by direct mail. (SA § IV(A).) Defendants

  will identify Class Members via Experian – a third party that interacts with state

  motor vehicle departments and collects the names and addresses of current and

  former automobile owners and lessees – and will send the notice to them by first-

  class mail. (Id.) In addition, the Settlement Administrator will set up a dedicated

  website that will include the notice, claim form, settlement agreement, and other

  relevant documents as well as a toll-free number to call for information. (Id.) Class

  Counsel will also provide a link to the settlement website on their respective law

  firms’ websites. (SA § IV(F)(6).) As noted above and in the Settlement Agreement,

  Defendants have agreed to pay the costs of notice and other settlement

  administration costs. (Id.)

        Notice will be sent within sixty days after entry of the Court’s Order

  preliminarily approving this proposed settlement. (SA §IV(B).) Settlement Class

  Members seeking reimbursement for services related to the Excess Oil

  Consumption Issue or the Battery Discharge Issue must submit a Claim Form

  within thirty (30) days after the Final Approval Hearing. (SA § I(F).) Defendants

  have agreed to provide notice of the settlement to the appropriate state and federal

  officials, as required by the Class Action Fairness Act, 28 U.S.C. § 1715.

        The Settlement Agreement clearly delineates the process and procedure to




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  be followed in the event that Defendants reject a claim for full reimbursement of

  out-of-pocket expenses. Within fifteen (15) days of the date of notice of the denial

  of a claim, the claimant may appeal the denial by providing the Settlement

  Administrator with the basis for the appeal. (SA § III(C)(4).) Thirty (30) days after

  the Settlement Administrator sends the last denial letter, the Settlement

  Administrator will provide counsel for the Parties with a list of all timely-

  submitted appeals and all documents related to the appeal. (Id.) The Parties will

  then meet and confer in an effort to resolve the appeal. (Id.) If that is unsuccessful,

  the appeal will be submitted to the Special Master, whose determination will be

  final and binding. (Id.)

        The Settlement Agreement also accounts for any Class Members who wish

  to object to or exclude themselves from the settlement. Any such request must be

  postmarked no later than the Opt-Out Deadline specified in the Court’s Preliminary

  Approval Order. (SA § V(A).) The Settlement Agreement requires that any

  objection or opt-out request contain sufficient information to reasonably

  demonstrate that the submission is made by a person who actually has standing as

  a Class Member. (Id.)

        F.            Attorney’s fees and Incentive Awards
        Defendants have agreed to not oppose Class Counsel’s attorneys’ fees and

  expenses request in the aggregate amount of up to $3,022,000. Defendants have




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  also agreed to not oppose incentive awards of $3,500 to each of the eight named

  Plaintiffs. (SA § VIII(B)-(C).) Plaintiffs will seek Court approval of these

  payments before the deadline for Class Members to file objections. Significantly,

  these obligations to pay Class Counsel’s Court-approved fees and expenses and the

  incentive awards will not reduce or otherwise have any effect on the benefits the

  Class will receive. (Id.)

        G.     The Release

        In exchange for the foregoing – and subject to approval by the Court – Class

  Members who do not timely exclude themselves will be bound by a release

  applicable to all claims arising out of or relating to the claims that were or could

  have been asserted in the Action, which relate to Excess Oil Consumption and

  Battery Discharge in the Settlement Class Vehicles. (SA § VII.) The Released

  Claims will extend to BMW NA, BMW AG, and their related entities and persons.

  (Id.) The Released Claims will not, however, apply to any claims for death,

  personal injury, and property damage other than damage to the Settlement Class

  Vehicle. (Id.) The settlement will also result in the dismissal of this case with

  prejudice. (SA § II(A)(7).)

                                  III.   ARGUMENT

        Before a settlement of a class action can receive final approval, the Court

  must determine that it is “fair, reasonable, and adequate.” See Fed. R. Civ. P.




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  23(e)(2). The Court must also “direct notice in a reasonable manner to all class

  members who would be bound by the proposal.” See Fed. R. Civ. P. 23(e)(1).

        At this preliminary stage, however, “the Court is required to determine only

  whether the proposed settlement discloses grounds to doubt its fairness or other

  obvious deficiencies such as unduly preferential treatment of class representatives

  or segments of the class, or excessive compensation of attorneys, and whether it

  appears to fall within the range of possible approval.” In re Nat’l Football League

  Players’ Concussion Injury Litig. (“In re NFL”), 301 F.R.D. 191, 198 (E.D. Pa.

  2014) (quoting Mehling v. New York Life Ins., 246 F.R.D. 467, 472 (E.D. Pa. 2007)

  (citations omitted)).6 As one court has stated, the purpose of preliminary approval

  “is to ascertain whether there is any reason to notify the class members of the

  proposed settlement and to proceed with a fairness hearing.” Gautreaux v. Pierce,

  690 F.2d 616, 621 n.3 (7th Cir. 1982). Under Rule 23, a settlement falls within the

  “range of possible approval” if there is a conceivable basis for presuming that the



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            “[A] presumption of fairness exists where a settlement has been negotiated
  at arm’s length, discovery is sufficient, the settlement proponents are experienced
  in similar matters and there are few objectors.” In re Ins. Brokerage Antitrust
  Litig., 297 F.R.D. 136, 144 (D.N.J. 2013) (citing In re Warfarin Sodium Antitrust
  Litig., 391 F.3d 516, 535 (3d Cir. 2004)). As the leading commentator on class
  actions has noted, courts usually adopt “an initial presumption of fairness when a
  proposed class settlement, which was negotiated at arm’s length by counsel for the
  class, is presented for court approval.” Newberg on Class Actions § 11:41; see also
  Little Rock School Dist., 921 F.2d 1371, 1391 (8th Cir. 1990) (stating that class
  action settlement agreements “are presumptively valid”).



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  standard applied for final approval—fairness, adequacy, and reasonableness—will

  be satisfied. In re NFL, 301 F.R.D. at 198.

        This approach is consistent with the principle that “settlement of litigation is

  especially favored by courts in the class action setting.” In re Insurance Brokerage

  Antitrust Litig., 297 F.R.D. 136, at 144 (D.N.J. 2013). Because there are no

  “obvious deficiencies” in the Settlement Agreement, nor any “grounds to doubt its

  fairness,” the Settlement easily meets the requirements for preliminary approval.

  Plaintiffs respectfully submit that this Settlement is fair, adequate, and reasonable;

  that the requirements for final approval will be satisfied; and that Class Members

  will be provided with notice in a manner that satisfies the requirements of due

  process and Federal Rule of Civil Procedure 23(e). Therefore, this Court is

  respectfully requested to enter the proposed order granting preliminary approval,

  which will: (i) grant preliminary approval of the proposed settlement; (ii) certify

  the Settlement Class pursuant to Federal Rule of Civil Procedure, Rule 23(b)(3);

  (iii) schedule a final approval hearing to consider final approval; and (iv) direct

  that notice of the proposed settlement and final approval hearing be provided to

  Settlement Class Members.

        A.     The Settlement Should Be Preliminarily Approved
        At the preliminary approval stage, the court simply “conduct[s] a threshold

  examination of the overall fairness and adequacy of the settlement in light of the




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  likely outcome and the cost of continued litigation.” In re Inter-Op Hip Prosthesis

  Liab. Litig., 204 F.R.D. 330, 350 (N.D. Ohio 2001). This is because, unlike final

  approval, “[p]reliminary approval is not binding, and it is granted unless a

  proposed settlement is obviously deficient.” Zimmerman v. Zwicker & Assocs.,

  P.C., No. CIV. 09-3905 RMB JS, 2011 WL 65912, at *2 (D.N.J. Jan. 10, 2011).

        In determining whether the proposed settlement falls within the “range of

  reasonableness,” district courts within the Third Circuit typically consider factors

  such as: (i) whether the negotiations occurred at arm’s length; (ii) whether there

  was sufficient discovery; and (iii) whether the proponents of the settlement are

  experienced in similar litigation. Jones v. Commerce Bancorp, Inc., No. 05-5600

  (RBK), 2007 U.S. Dist. LEXIS 52144, at *5 (D.N.J. July 16, 2007); see also, In re

  Aetna UCR Litig., No. 07-3541-KSH, 2013 U.S. Dist. LEXIS 127691, at *44

  (D.N.J. Aug. 30, 2013) (finding that preliminary approval should be granted

  “unless a proposed settlement is obviously deficient . . . and ‘where the proposed

  settlement is the result of the parties’ good faith negotiations, there are not obvious

  deficiencies and the settlement falls within the range of reason.’” (citations

  omitted)).

        In light of these standards, the criteria for granting preliminary approval of

  this complex class action lawsuit are met. The Settlement was reached as a result

  of extensive, arm’s-length negotiations between experienced counsel, mediated by




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  Brad Winters, a well-regarded and experienced mediator. Counsel for all Parties

  believe the Settlement is in the best interests of their respective clients. Prior to the

  mediation, Plaintiff’s counsel extensively investigated the disputed claims and

  reviewed thousands of documents produced by Defendants. The Settlement will

  also remove the uncertainties and risks to the Parties from proceeding further in the

  litigation. For these reasons, preliminary approval should be granted.

        B.     Certification of the Proposed Class for Purposes of Settlement
               Only Is Appropriate
        Both the Supreme Court and various circuit courts have recognized that the

  benefits of a proposed settlement of a class action can be realized only through the

  certification of a settlement class. See Amchem Prods. v. Windsor, 521 U.S. 591,

  620 (1997); Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). As

  such, Plaintiffs seek the conditional certification of the Class set forth above and in

  the Settlement Agreement.7

        For the Court to certify a class for settlement, the “[s]ettlement [c]lass[] must

  satisfy the Rule 23(a) requirements of numerosity, commonality, typicality, and

  adequacy of representation, as well as the relevant 23(b) requirement.” In re GMC

  Pick-up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 778 (3d Cir. 1995).

  Here, Plaintiffs seek certification of the Class pursuant to Rule 23(b)(3), which


        7
          BMW has agreed to certification of the class for settlement purposes only.
  (See SA § X(A).)



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  provides that certification is appropriate where “the court finds that the questions

  of law or fact common to class members predominate over any questions affecting

  only individual members [predominance], and that a class action is superior to

  other available methods for fairly and efficiently adjudicating the controversy

  [superiority].” Fed. R. Civ. P. 23(b)(3). As discussed below, these requirements are

  met for purposes of settlement in this case.

               1.     Numerosity under Rule 23(a)(1)

        Rule 23(a)(1) requires that the class be “so numerous that joinder of all

  members is impracticable.” Fed. R. Civ. P. 23(a)(1). “[G]enerally, if the named

  plaintiff demonstrates that the potential number of plaintiffs exceeds 40, the

  [numerosity requirement] of Rule 23(a) has been met.” Stewart v. Abraham, 275

  F.3d 220, 226-227 (3d Cir. 2001) (citation omitted).

        The Complaint alleges (and Defendants do not dispute) that approximately

  84,000 Settlement Class Vehicles were sold throughout the United States. (SAC ¶¶

  185-188.) Therefore, the numerosity requirement has been met.

               2.     Commonality under Rule 23(a)(2)

        Rule 23(a)(2) requires that there be “questions of law or fact common to the

  class.” Fed. R. Civ. P. 23(a)(2). “A finding of commonality does not require that

  all class members share identical claims, and factual differences among the claims

  of the putative class members do not defeat certification.” In re Prudential Ins. Co.




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  Sales Litig., 148 F.3d 283, 310 (3d Cir. 1998). The Supreme Court has stated that

  Rule 23(a)(2)’s commonality requirement is satisfied where the plaintiffs assert

  claims that “depend upon a common contention” that is “of such a nature that it is

  capable of classwide resolution – which means that determination of its truth or

  falsity will resolve an issue that is central to the validity of each one of the claims

  in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (“[F]or

  purposes of Rule 23(a)(2) even a single common question will do.”).

        In this case, there are numerous common questions of law and fact, such as

  whether the Settlement Class Vehicles suffer from a uniform design defect that

  causes them to consume improper or excessive amounts of engine oil and

  prematurely drain the battery; whether Defendants had a duty to disclose these

  alleged defects to consumers; and whether Plaintiffs have actionable claims.

  Commonality is, therefore, satisfied. See Henderson v. Volvo Cars of N. Am., LLC,

  No. 09-4146 (CCC), 2013 U.S. Dist. LEXIS 46291, at *12-13 (D.N.J. Mar. 22,

  2013) (“Several common questions of law and fact exist in this case, including

  whether the transmissions in the Class Vehicles suffered from a design defect,

  whether Volvo had a duty to disclose the alleged defect, whether the warranty

  limitations on Class Vehicles are unconscionable or otherwise unenforceable, and

  whether Plaintiffs have actionable claims.”).




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               3.     Typicality under Rule 23(a)(3)

        Rule 23(a)(3) requires that a representative plaintiff’s claims be “typical” of

  those of other class members. Fed. R. Civ. P. 23(a)(3). “The typicality requirement

  is designed to align the interests of the class and the class representatives so that

  the latter will work to benefit the entire class through the pursuit of their own

  goals.” Barnes v. Am. Tobacco Co., 161 F.3d 127, 141 (3d Cir. 1998). “As with

  numerosity, the Third Circuit has ‘set a low threshold’ for satisfying typicality,

  holding that ‘[i]f the claims of the named plaintiffs and class members involve the

  same conduct by the defendant, typicality is established . . . .’” In re Ins. Brokerage

  Antitrust Litig., 297 F.R.D. 136, 149 (D.N.J. 2013) (citation omitted).

        Here, all of Plaintiffs’ claims arise out of the same alleged conduct by

  Defendants related to the design, manufacture, and sale of the Settlement Class

  Vehicles (and their failure to disclose the alleged defect). See Henderson, 2013

  U.S. Dist. LEXIS 46291 at *14 (typicality satisfied where “the claims made by the

  named Plaintiffs and those made on behalf of Settlement Class Members arise out

  of the same alleged conduct by Volvo – namely, Volvo’s design, manufacture and

  sale of the allegedly defective Class Vehicles and Volvo’s alleged failure to

  disclose the defect.”). This requirement is, likewise, met here.

               4.     Adequacy of Representation under Rule 23(a)(4)

        The final requirement of Rule 23(a) is that “the representative parties will




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  fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). In

  determining the adequacy of representation, the court should “‘evaluate [both] the

  named plaintiffs’ and . . . counsel’s ability to fairly and adequately represent class

  interests.’” Gotthelf v. Toyota Motor Sales, U.S.A., Inc., 525 Fed. Appx. 94, 100-01

  (3d Cir. 2013) (alterations in original; citation omitted)). In doing so, “the district

  court ensures that no conflict of interest exists between the named plaintiffs’

  claims and those asserted on behalf of the class, and inquires whether the named

  plaintiffs have the ability and incentive to vigorously represent the interests of the

  class.” Id. at 101 (citing In re Cmty. Bank of N. Virginia, 622 F.3d 275, 291 (3d

  Cir. 2010)).

        In addressing the adequacy of the proposed class representative, district

  courts examine whether he or she “has the ability and incentive to represent the

  claims of the class vigorously, that he or she has obtained adequate counsel, and

  that there is no conflict between the individual’s claims and those asserted on

  behalf of the class.” Ritti v. U-Haul Int’l., Inc., 05-4182, 2006 U.S. Dist. LEXIS

  23393, at *15 (E.D. Pa. Apr. 26, 2006). Here, all of the Representative Plaintiffs

  are adequate because they purchased one of the Settlement Class Vehicles subject

  to the Settlement Agreement and were allegedly injured in the same manner based

  on the same alleged defect. They have also each actively participated in the

  litigation of this case, and have been in regular communication with their attorneys




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  regarding these proceedings.

        The Settlement Agreement designates the following attorneys as Class

  Counsel: Matthew Schelkopf and David C. Wright of McCune Wright Arevalo

  LLP and Eric D. Barton of Wagstaff & Cartmell LLP. Mr. Wright of McCune

  Wright Arevalo and Mr. Barton of Wagstaff & Cartmell were previously named

  Co-Lead Interim Class Counsel and Mr. Schelkopf was named Liaison Counsel in

  the Court’s order dated January 15, 2016. (ECF. No. 19.) With respect to the

  adequacy of these lawyers, they have invested considerable time and resources into

  the prosecution of this action. Class Counsel have a wealth of experience in

  litigating complex class action lawsuits, and were able to negotiate an outstanding

  settlement for the Class. Based on the outstanding results achieved here, and for

  the reasons set forth in Plaintiffs’ motion for the appointment of interim class

  counsel (ECF. No. 18), the Court should appoint these attorneys as Class Counsel

  for the Class, and determine that Rule 23(a)’s adequacy requirement is satisfied.

               5.    The Requirements of Rule 23(b)(3) Are Met

        Plaintiffs seek to certify the Class under Rule 23(b)(3), which has two

  components: predominance and superiority. “Parallel with Rule 23(a)(2)’s

  commonality element, which provides that a proposed class must share a common

  question of law or fact, Rule 23(b)(3)’s predominance requirement imposes a more

  rigorous obligation upon a reviewing court to ensure that issues common to the




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  class predominate over those affecting only individual class members.” Sullivan v.

  DB Invs., Inc., 667 F.3d 273, 297 (3d Cir. 2011) (en banc) (citing In re Ins.

  Brokerage Antitrust Litig., 579 F.3d 241, 266 (3d Cir. 2009)). When assessing

  predominance and superiority, the court may consider that the class will be

  certified for settlement purposes only, and that a showing of manageability at trial

  is not required. See Amchem, 521 U.S. at 618 (“Confronted with a request for

  settlement-only class certification, a district court need not inquire whether the

  case, if tried, would present intractable management problems . . . for the proposal

  is that there be no trial.”).

         The Third Circuit has reiterated that the focus of the predominance “inquiry

  is on whether the defendant’s conduct was common as to all of the class members,

  and whether all of the class members were harmed by the defendant’s conduct.”

  Sullivan, 667 F.3d at 298. Here, there are several common questions of law and

  fact that predominate over any questions that may affect individual Class

  Members. For example, were this case to proceed, the primary issue would be

  whether Defendants are liable for manufacturing and distributing Settlement Class

  Vehicles with an engine design defect and their alleged failure to disclose it. This

  is an issue subject to “generalized proof,” and is a “question that is common to all

  class members.” See Henderson, 2013 U.S. Dist. LEXIS 46291, at 17-18.

  Accordingly, the predominance prong of Rule 23(b)(3) is satisfied.




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         The second prong of Rule 23(b)(3) – that a class action be superior to other

   available methods for the fair and efficient adjudication of the controversy – is also

   readily satisfied. See Fed. R. Civ. P. 23(b)(3). Superiority requires the Court to

   consider whether or not “a class action is superior to other available methods of

   fairly and efficiently adjudicating the controversy.” Sullivan, 667 F.3d at 296

   (citations omitted). Rule 23(b)(3) provides a non-exhaustive list of factors to be

   considered when making this determination. McCoy v. Health Net, Inc., 569 F.

   Supp. 2d 448, 457 (D.N.J. 2008). These factors include: “(i) the class members’

   interests in individually controlling the prosecution or defense of separate actions;

   (ii) the extent and nature of any litigation concerning the controversy already

   begun by or against class members; (iii) the desirability or undesirability of

   concentrating the litigation of the claims in the particular forum; and (iv) the likely

   difficulties in managing a class action.” Id. (quoting Fed. R. Civ. P. 23(b)(3)).

         The Settlement Agreement provides Class Members with prompt,

   predictable, and certain relief, and contains well-defined administrative procedures

   to ensure due process. This includes the right of any Class Members who are

   dissatisfied with the settlement to object to it or to exclude themselves from it. The

   settlement also would relieve the substantial judicial burdens that would be caused

   by repeated adjudication of the same issues in thousands of individualized trials

   against Defendants. To litigate the claims of the potential Class Members on an




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   individual basis would not be economically feasible and result in “needless

   duplication of effort.” See Henderson, 2013 U.S. Dist. LEXIS 46291, at *19

   (citation omitted). And because the Parties seek to resolve this case through a

   settlement, any manageability issues that could have arisen at trial are

   marginalized. Sullivan, 667 F.3d 273, 302-03 (3d Cir. 2011). Therefore, “class

   status here is not only the superior means, but probably the only feasible [way] . . .

   to establish liability and perhaps damages.” Augustin v. Jablonsky, 461 F.3d 219,

   229 (2d Cir. 2006) (quoting Tardiff v. Knox County, 365 F.3d 1, 7 (1st Cir. 2004)).

         In sum, because the requirements of Rule 23(a) and Rule 23(b)(3) are

   satisfied, certification of the proposed Settlement Class is appropriate.

         C.     The Court Should Approve the Notice Plan
         Under Federal Rule of Civil Procedure 23(e), class members who would be

   bound by a settlement are entitled to reasonable notice before the settlement is

   approved. See Fed. Jud. Ctr., Manual for Complex Litig. Fourth, § 30.212 (2004).

   And because Plaintiffs here seek certification of the Settlement Class under Rule

   23(b)(3), “the Court must direct to class members the best notice practicable under

   the circumstances, including individual notice to all members who can be

   identified through reasonable efforts.” See In re Countrywide Fin. Corp. Customer

   Data Sec. Breach Litig., Case No. 3:08-MD-01998, MDL No. 1998, 2009 WL

   5184352, , at *42-43 (W.D. Kentucky 2009) (citing Fed. R. Civ. P. 23(c)(2)(B)). In




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   order to satisfy these standards and “comport with the requirements of due process,

   notice must be ‘reasonably calculated to reach interested parties.’” Id. at *43

   (quoting Fidel v. Farley, 534 F.3d 508, 514 (6th Cir. 2008)); DeBoer v. Mellon

   Mortgage Co., 64 F.3d 1171, 1176 (8th Cir. 1995) (“Notice of a settlement

   proposal need only be as directed by the district court . . . and reasonable enough to

   satisfy due process.”).

         The notice plan described above and set forth in Section IV of the Settlement

   Agreement provides the best notice practicable under the circumstances. Through a

   reputable vendor, the addresses of current and former owners and lessees of

   Settlement Class Vehicles throughout the United States and Puerto Rico will be

   compiled and used to provide these Settlement Class Members with direct mail

   notification. Notice of the settlement will also be available on a dedicated website

   created by the Settlement Administrator, and information about it will be posted on

   the respective Class Counsel law firms’ websites. Henderson, supra, is instructive

   in this regard. In that case, Judge Cecchi found that a substantially similar notice

   plan – which included direct mail notification to identifiable class members, a

   dedicated settlement website, and toll-free telephone number – satisfied Federal

   Rule of Civil Procedure 23(c)(2)(B) and 23(e). Henderson, 2013 U.S. Dist. LEXIS

   46291, at *37-39. The same conclusion should be drawn here.

         Finally, the content and substance of the proposed notice – which is attached




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   as Exhibit B to the Settlement Agreement – will include all necessary legal

   requirements and provide a comprehensive explanation of the settlement in simple,

   non-legalistic terms. See Fed. R. Civ. P. 23(c)(2)(B). Accordingly, the Parties

   respectfully request that the Court approve the notice plan.

         D.     A Final Approval Hearing Should be Scheduled

         Finally, the Court should schedule a final approval hearing to decide

   whether to grant final approval to the settlement, address Class Counsel’s request

   for attorneys’ fees, expenses, and an incentive award for the Representative

   Plaintiffs, consider any objections and exclusions, and determine whether to

   dismiss this action with prejudice. See Fed. Jud. Ctr., Manual for Complex Litig.

   Fourth, § 30.44 (2004); Ehrheart v. Verizon Wireless, 609 F.3d 590, 600 (3d Cir.

   2010). Plaintiffs respectfully request that the final approval hearing be scheduled

   for approximately four months from the date the preliminary approval order is

   entered.

                                 IV.    CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that this Court enter

   the accompanying Order: (1) conditionally certifying this case as a class action

   pursuant to Federal Rules of Civil Procedure, Rules 23(a) and 23(b)(3) for the

   purpose of effectuating a class action settlement; (2) preliminarily approving the

   settlement; (3) directing notice to Settlement Class Members consistent with the




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   notice plan; (4) appointing of David C. Wright and Matthew Schelkopf of McCune

   Wright Arevalo, LLP and Eric D. Barton of Wagstaff & Cartmell LLP as

   Settlement Class Counsel; (5) setting dates for submissions of objections, opt-outs,

   and claims; and (6) scheduling a final approval hearing. A proposed order granting

   this relief is submitted with this memorandum.



   Dated: May 4, 2018                            Respectfully submitted,

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